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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. _____________
  MICHAEL ST-LAURENT, as Personal
  Representative of the Estate of ANNE MARIE
  GOYETTE ST-LAURENT, deceased,

         Plaintiff,

  vs.

  UNITED STATES OF AMERICA,

         Defendant.
                                              /


                           COMPLAINT FOR WRONGFUL DEATH

         Plaintiff, MICHAEL ST-LAURENT, as Personal Representative of the Estate of ANNE

  MARIE GOYETTE ST-LAURENT, deceased, by undersigned counsel, sues the Defendant,

  UNITED STATES OF AMERICA, and alleges:

          JURISDICTIONAL STATEMENT AND IDENTIFICATION OF PARTIES

         1.      This is a claim against the United States of America for money damages for

  wrongful caused by the negligence or wrongful acts or omissions of employees, agents, and

  servants of the Florida Community Health Center, Inc. (“FCHC”) located at Lakeshore Medical,

  1100 N. Parrott Avenue, Okeechobee, FL 34972.

         2.      Jurisdiction is based on 28 U.S. C. § 1331 [Federal Question], and pursuant to the

  Federal Tort Claims Act, 28 U.S.C. §§ 1346(b) and 2671, et seq.

         3.      Venue is proper in the Southern District of Florida pursuant to 28 U.S.C.

  § 1391(e)(1) because, as referenced herein, the decedent was treated as a patient at Florida

  Community Health Center, Inc., located in Okeechobee, Florida.



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         4.      At all times material hereto, Plaintiff, MICHAEL ST-LAURENT (“Mr. St-

  Laurent”), is and was a resident of Okeechobee, Florida.

         5.      Mr. St-Laurent is or will be appointed as Personal Representative of the Estate of

  ANNE MARIE GOYETTE ST-LAURENT, deceased.

         6.      Decedent ANNE MARIE GOYETTE ST-LAURENT (“Mrs. Goyette St-Laurent”)

  was a natural person who resided in Okeechobee, Florida, at all relevant times up to her death on

  October 25, 2013.

         7.      Mr. St-Laurent and Mrs. Goyette St-Laurent were married on October 1, 2005, and

  remained married until Mrs. Goyette St-Laurent’s death.

         8.      The Defendant, United States of America, by and through its employees, agents and

  servants, rendered medical care to the decedent, Mrs. Goyette St-Laurent, from 2006 through

  October 2013, in Okeechobee, Florida at FCHC, which is an agency of the Defendant, United States

  of America.

         9.      At all times relevant hereto, physicians, nurses, employees and agents of Florida

  Community Health Center, Inc. provided medical care and treatment to Mrs. Goyette St-Laurent.

                       COMPLIANCE WITH CONDITIONS PRECEDENT

         10.     This action has been commenced against the United States of America within 6

  years after the right of action first accrued. The Plaintiff has complied with the requirements of 28

  U.S.C. § 2401 by presenting a claim in writing to the appropriate deferral agency within two years

  after the claim occurred. Florida Community Health Center, Inc. has acknowledged that it received

  the claim on October 10, 2014 via a letter from counsel for the United States of America. The

  Defendant has failed to deny the claim within six months of the date of notice was sent. Therefore,




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  the Plaintiff has complied with any and all conditions precedent to the maintenance of this lawsuit

  including 28 U.S.C. § 2401 and § 2675.

                             FACTS GIVING RISE TO CAUSE OF ACTION

         11.     On September 27, 2012, decedent, Anne Marie Goyette St-Laurent, presented to the

  Florida Community Health Center, Inc. (“FCHC”) in Okeechobee, Florida. She was previously a

  patient at FCHC, and utilized FCHC as her primary care service.

         12.     On September 27, 2012, Mrs. Goyette St-Laurent presented to FCHC and was seen

  by Paulette Disinger, ARNP. Mrs. Goyette St-Laurent presented with severe pelvic/abdominal

  pain that was located in both lower quadrants of her abdomen. She also complained of painful

  urination and blood in her urine. She did not have a past medical history of kidney stones, urinary

  tract infections (UTI’s), or irritable bowel that would explain this new onset of symptoms. ARNP

  Disinger documented her pelvis/abdominal pain, dysuria, and hematuria, but failed to make a

  proper differential diagnosis about what could be causing these concerning complaints and

  symptoms.

         13.     ARNP Disinger only entertained a potential urinary tract infection, and ordered Ms.

  Goyette St-Laurent to drink cranberry juice, and take medications for an UTI. Even though ARNP

  Disinger was only entertaining an UTI at that time, the urinary analysis came back negative for any

  elevated levels of white blood cells, which are commonly found when one is suffering from an

  acute UTI.

         14.     The standard of care required ARNP Disinger to make a proper differential

  diagnosis of other potential causes of her complaints and symptoms, which included, but were not

  limited to, a potential tumor or mass or other pathological abnormalities which would explain these

  complaints and symptoms. Although ARNP Disinger was not responsible for making the diagnosis


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  of a potential mass, the standard of care required her to do the following: (1) order a stat referral to

  an emergency room or outpatient center that could perform the proper imaging studies, (2) order a

  stat referral to a urologist, and (3) have a medical doctor evaluate Ms. Goyette St-Laurent before

  she left FCHC to ensure that the proper differential was made. ARNP Disinger therefore fell below

  the standard of care and was negligent in failing to properly treat and care for Mrs. Goyette St-

  Laurent.

         15.      If any of these avenues were taken and had the standard of care been met by ARNP

  Disinger, the proper imaging studies would have been secured in a timely fashion, and her

  carcinoma would have been identified seven to eight months earlier.

         16.      Mrs. Goyette St-Laurent was diagnosed with an adrenal cortical neoplasm in May

  of 2013, and unfortunately succumbed to her disease in October 25, 2013.

         17.      But for the delay in diagnosing and treating this tumor, Ms. Goyette St-Laurent’s

  carcinoma was able to spread, and this spread affected her survivability according to the SEER

  produced by the National Cancer Institute.

         18.      Mrs. St-Laurent was survived by her husband Mr. St-Laurent and their five

  children:    John M. St-Laurent (born 2006), Philomena Marie St-Laurent (born 2007), Mark

  Anthony St-Laurent (born 2008), Cecilia Jean St-Laurent (born 2010), and Genevieve Elizabeth St-

  Laurent (born 2011).




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               COUNT I - VICARIOUS LIABILITY OF THE DEFENDANT,
           UNITED STATES OF AMERICA FOR THE NEGLIGENCE OF HEALTH
              CARE PROVIDER RENDERING CARE AND TREATMENT TO
                   ANNE MARIE GOYETTE ST-LAURENT AT FCHC

         19.     The Plaintiff re-alleges and reaffirms all of the allegations contained in paragraphs 1

  through 18 above and further alleges the following:

         20.     ARNP Disinger and any and all other physicians, nurses, technicians and healthcare

  providers who participated in the care and treatment of decedent at Florida Community Health

  Center, Inc. were actual agents or employees of the United States of America or agencies and at all

  times material hereto, were acting within their scope of their agency relationships with the United

  States of America.

         21.     Florida Community Health Center, Inc. held out all physicians, nurses, technicians

  and healthcare providers who participated in the care and treatment of decedent, as its agents, never

  informing decedent otherwise and never informing Plaintiff’s decedent that the United State of

  America and/or Florida Community Health Center, Inc. took no responsibility for the actions of

  physicians, nurses, technicians and healthcare providers at these outpatient clinics.        Decedent

  accepted treatment from physicians, nurses, technicians and healthcare providers at Florida

  Community Health Center, Inc.

         22.     Florida Community Health Center, Inc. entered into an implied contract with

  decedent for the delivery of healthcare services in accordance with the accepted standard of care

  when Decedent received any all treatment at their office. The Defendant’s duty to provide non-

  negligent care was non-delegable, and Florida Community Health Care, Inc. undertook to deliver the

  necessary medical care through physicians, nurses and other healthcare providers at these facilities.




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           23.   The Defendant, United States of America, is liable, therefore, for the negligence of

  physicians, nurses, technicians and healthcare providers at Florida Community Health Care, Inc.

  who provided care to Mrs. Goyette St-Laurent as alleged in Count I.

           24.   As a direct and proximate result of the negligence alleged in Count I, the Plaintiff

  died on October 25, 2013 and the damages sustained by the Estate as set forth more particularly

  below.

      CLAIM FOR DAMAGES OF THE SURVIVORS AND ESTATE OF ANNE MARIE
                         GOYETTE ST-LAURENT

           25.   As a direct and proximate result of the negligence of the Defendant, as set forth in

  the Counts I-II above, Michael St-Laurent, brings this action as the Personal Representative of the

  Estate of ANNE MARIE GOYETTE ST-LAURENT to recover all damages permitted by law

  including without limitation the following:

                 a.     On behalf of Michael St-Laurent, as the surviving spouse of the deceased,

                        damages for loss of Mrs. Goyette St-Laurent’s companionship and

                        protection and for mental pain and suffering from the date of injury;

                 b.     On behalf of Mrs. Goyette St-Laurent’s five surviving children John M. St-

                        Laurent (born 2006), Philomena Marie St-Laurent (born 2007), Mark

                        Anthony St-Laurent (born 2008), Cecilia Jean St-Laurent (born 2010), and

                        Genevieve     Elizabeth   St-Laurent   (born    2011)   for   their   loss   of

                        companionship, protection, guidance and for mental pain and suffering from

                        the date of the injury.

                 c.     Funeral expenses and other expenses relating to the funeral and burial of

                        Mrs. Mrs. Goyette St-Laurent.



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                 d.      Loss of support and services provided by Mrs. Goyette St-Laurent to her

                         surviving husband and her five surviving children;

         WHEREFORE, the Plaintiff, MICHAEL ST-LAURENT, as Personal Representative of the

  Estate of ANNE MARIE GOYETTE ST-LAURENT, deceased, demands judgment against the

  Defendant, United States of America, for all damages and other relief to which he, the five

  surviving children and the Estate are legally entitled, together with pre-judgment interest and

  post-judgment interest to the extent authorized by law, and costs of this action.

         Dated: May 23, 2016

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